     Case 1:23-cr-00490-SHS        Document 346       Filed 04/22/24       Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
               V.

 ROBERT MENENDEZ, NADINE MENENDEZ,                                 23-Cr-490 (SHS)
 WAEL HANA, and FRED DAIBES,
                                                                   ORDER
                             Defendants.


SIDNEY H. STEIN, U.S. District Judge.
     The Court has reviewed the Government's classified, ex parte supplemental Section
4 CIPA submission filed on April 15, 2024, and has previously held 1) an in camera, ex
parte Section 4 hearing with the Government on March 28, 2024, with respect to the
Government's in camera, ex parte filing on February 9, 2024, and 2) an in camera, ex parte
Section 4 hearing with defendants on April 4, 2024, concerning the Government's in
camera, ex parte filings on February 9, 2024, and March 29, 2024. The Court granted the
Government's motion for a protective order with respect to classified materials on April
17, 2024. (ECF No. 332.) The Court now finds that no additional Section 4 conferences
are needed at this time.
    On April 19, 2024, the Government, pursuant to Section 6(a) of CIPA, requested the
Court to conduct an in camera hearing to make all determinations concerning the use,
relevance, or admissibility of the classified information that defendants, in their
submissions pursuant to Section 5 of CIPA on April 10, 2024, state that they reasonably
expect to disclose at trial. The parties are directed to attempt to agree on the use of the
classified information at issue in advance of the in camera Section 6(a) CIPA hearing to
take place on Tuesday, April 23, 2024, at 2:30 p.m. in Courtroom 6B.


Dated: New York, New York
       April 22, 2024

                                           SO ORDERED:



                                                         //JZ
                                                       . Stein, U.S.D.J.
